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10                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
11
      STATE OF WASHINGTON, et al.,                 NO. 1:23-cv-03026-TOR
12
                          Plaintiffs,              PLAINTIFF STATES’ RESPONSE
13                                                 TO MOTION TO INTERVENE
          v.
14
      UNITED STATES FOOD AND
15    DRUG ADMINISTRATION, et al.,

16                        Defendants.

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1                                 I.         INTRODUCTION

2            Seven states with restrictive abortion laws and policies—Idaho, Iowa,

3     Montana, Nebraska, South Carolina, Texas, and Utah (the “Proposed

4     Intervenors”)—seek to intervene in this action addressing FDA’s regulation of

5     mifepristone, in spite of the abundant evidence of the drug’s safety and efficacy.

6     But the Proposed Intervenors’ asserted interest in enforcing their own state laws

7     is entirely divorced from the claims and issues raised in this lawsuit. Instead, as

8     the Proposed Intervenors candidly admit in their Motion to Expedite (ECF No.

9     90), their interest is in appealing an order this Court has already issued, on a

10    motion in which they did not seek to participate.

11          That falls far short of the requirements of Rule 24. The Proposed

12    Intervenors have no protectable interest here, because this challenge to federal

13    agency action will not affect the Proposed Intervenors’ laws or ability to regulate

14    abortion within their borders. Nor is it necessary or appropriate to expand the

15    scope of this lawsuit to include their claims seeking to restore a previous FDA

16    restriction on mifepristone that is not the subject of this case, but is already the

17    subject of separate litigation elsewhere. The sparse and conclusory Motion to

18    Intervene fails to establish any of the factors warranting either mandatory or

19    permissive intervention. The Motion should be denied.

20                                     II.    ARGUMENT

21    A.    There Is No Right to Mandatory Intervention

22          The Proposed Intervenors do not meet their burden of demonstrating any

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      of the four mandatory intervention factors. Cooper v. Newsom, 13 F.4th 857,
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      864–65 (9th Cir. 2021). “Failure to satisfy any one of the requirements is
3
      fatal . . . .” Perry v. Proposition 8 Official Proponents, 587 F.3d 947, 950 (9th
4
      Cir. 2009).
5
            1.      The Proposed Intervenors do not have a significantly
6                   protectable interest in the claims at issue in this litigation
7           As a threshold matter, the Proposed Intervenors’ assertion that “practical

8     considerations” drive the “significantly protectable interest” analysis and broadly

9     favor intervention, ECF No. 76 at 2, 4–5, is incorrect. The Ninth Circuit recently

10    held that, notwithstanding its prior “liberal policy in favor of intervention,” if the

11    two “core,” “irreducible” elements of Rule 24(a)(2)’s “significantly protectable

12    interest” analysis are not satisfied, “a putative intervenor lacks any interest under

13    Rule 24(a)(2), full stop.” Cal. Dep’t of Toxic Substances Control v. Jim Dobbas,

14    Inc., 54 F.4th 1078, 1088 (9th Cir. 2022) (emphasis added). The Proposed

15    Intervenors cannot satisfy this standard.

16          At its “irreducible minimum,” those two core elements are that: (1) “the

17    asserted interest be protectable under some law,” and (2) “there exists a

18    relationship between the legally protected interest and the claims at issue.” Id. at

19    1088 (cleaned up). Seeking to pursue a similar claim to the existing lawsuit is not

20    enough; a putative intervenor must establish that resolution of the lawsuit

21    “actually will affect” its legally protected interest. Donnelly v. Glickman, 159

22    F.3d 405, 409–11 (9th Cir. 1998). In Donnelly, intervention was denied where

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1     female plaintiffs raised sex discrimination claims and the putative intervenors

2     sought to raise similar claims against the same employer on behalf of men. Id.

3     The court held that the male employees’ claims were “unrelated” to the plaintiffs’

4     “particular claims of ‘hostile-work-environment’ discrimination” because none

5     of the plaintiffs’ remedies—aimed at ending harassment of women—would

6     directly or necessarily affect the putative intervenors’ claimed interest in

7     preventing discrimination against men. Id.

8           The same is true here. The Proposed Intervenors’ claims solely concern

9     FDA’s elimination of a prior in-person dispensing requirement. But this lawsuit

10    challenges different REMS restrictions (i.e., the patient agreement form, provider

11    certification, and pharmacy certification). See ECF No. 35 ¶¶ 1–8. The in-person

12    dispensing requirement is not at issue in this case and will neither be eliminated

13    nor reinstated as a result of this suit. For this reason alone, intervention should be

14    denied. Donnelly, 159 F.3d at 409–10 (for intervention, “[i]t is not enough that

15    both groups assert [similar] claims against the same defendants”); Ctr. for

16    Biological Diversity v. Lubchenco, No. 09-04087 EDL, 2010 WL 1038398, at *2

17    (N.D. Cal. Mar. 19, 2010) (denying intervention where Alaska’s claimed interests

18    in wildlife management were not “sufficiently related to” whether federal agency

19    erred in not listing ribbon seal as endangered species).

20          The Proposed Intervenors’ invocation of their own state abortion laws and

21    the “health and well-being” of their residents, ECF No. 76 at 4, does not alter this

22    conclusion. First, their concerns about the “ability to enforce” their more

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1     restrictive abortion laws are illogical. Id. The Plaintiff States do not challenge

2     any of the Proposed Intervenors’ laws on abortion, which impose additional

3     restrictions beyond FDA’s REMS. See, e.g., ECF No. 76-1 ¶¶ 52, 73, 75; see also

4     infra at 6. Accordingly, “resolution of this case would not impair those States’

5     ability to enforce their own laws regulating mifepristone.” See Am. College of

6     Obstetricians & Gynecologists (ACOG) v. FDA, 467 F. Supp. 3d 282, 286 (D.

7     Md. 2020) (denying intervention to ten states in action challenging FDA’s in-

8     person dispensing requirement).

9           Further, the Proposed Intervenors “have not submitted evidence to support

10    their fears” of any harm to their residents based on the 2023 REMS, “other than

11    [their] speculative beliefs.” Standard Heating & Air Conditioning Co. v. City of

12    Minneapolis, 137 F.3d 567, 571 (8th Cir. 1998) (denying intervention because

13    interests were too speculative to be “direct, substantial and legally protectable”);

14    see also United States v. Alisal Water Corp., 370 F.3d 915, 919 (9th Cir. 2004)

15    (speculative interests insufficient to support a right to intervention); Donnelly,

16    159 F.3d at 411. Moreover, a core premise of their assertion of harm is factually

17    mistaken. They highlight the “23-year requirement” that mifepristone be

18    “administered in person in a clinical setting.” ECF No. 76-1 ¶ 61. But since 2016,

19    the REMS has allowed patients to take mifepristone “at a location of [their]

20

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1     choice.” See ACOG, 467 F. Supp. 3d at 285. The 2023 REMS did not alter this.1

2           In any event, because “this case will not eliminate any state’s ability to

3     continue to regulate medication abortion,” the Proposed Intervenors’ “broader

4     policy interests . . . cannot serve as a basis for mandatory intervention.” ACOG,

5     467 F. Supp. 3d at 289.

6           2.      Disposition of this suit will not impair the Proposed Intervenors’
                    regulation of abortion within their borders
7
            Because the Proposed Intervenors have failed to demonstrate a
8
      significantly protectable interest in the claims at issue in this case, “there can be
9
      no impairment of the ability to protect it.” Am. Ass’n of People with Disabilities
10
      v. Herrera, 257 F.R.D. 236, 252 (D.N.M. 2008); see also United States v.
11
      Arizona, 2010 WL 11470582, at *3 (D. Ariz. Oct. 28, 2010). But even if they had
12
      such an interest, they still fail to establish impairment.
13
            Fundamentally, the claims in this lawsuit are factually and legally distinct
14
      from the claims the Proposed Intervenors seek to assert against removal of the
15
      in-person dispensing requirement. And even if they could show this case might
16
      affect their interests, they cannot prove impairment because they have “other
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      means by which [they] may protect” those interests. Alisal Water Corp., 370 F.3d
18
      at 921. As discussed above, a ruling in this case does not affect the Proposed
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20          1
                For these same reasons, Proposed Intervenors lack standing. Jim Dobbas,
21    54 F.4th at 1085 (intervenors seeking relief “that is broader than or different from
22    the relief sought by existing parties” must “possess constitutional standing”).

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1     Intervenors’ abilities to regulate abortion within their borders. Supra at 4. Just as

2     in ACOG, “Plaintiffs do not seek the invalidation of the States’ abortion laws.”

3     ACOG, 467 F. Supp. 3d at 289. Notably, many of the Proposed Intervenors have

4     already imposed their own state-law restrictions on medication abortion,

5     including REMS-like requirements. See, e.g., Neb. Rev. Stat. § 28-335(2)

6     (requiring physicians to be physically present during medication abortions); Utah

7     Code 76-7-302(4) (“An abortion may be performed only in an abortion clinic or

8     a hospital . . . .”); Idaho Code § 18-622 (banning abortions except in extremely

9     limited circumstances); Tex. Health & Safety Code §§ 245.002, 170A.002

10    (criminalizing the provision of nearly all abortions, including medication

11    abortion). This lawsuit requests no relief related to those state laws.

12          Further, the Proposed Intervenors can assert their purported interests via

13    their own lawsuit, rather than seeking to commandeer this one. See United States

14    v. City of Los Angeles, 288 F.3d 391, 402 (9th Cir. 2002) (denying intervention

15    where it was “doubtful” that police reform advocates’ “interests are impaired by”

16    order relating to LAPD constitutional violations because “[t]he litigation does not

17    prevent any individual from initiating suit against LAPD officers who engage in

18    unconstitutional practices”); Mi Pueblo San Jose, Inc. v. City of Oakland, C06-

19    4094VRW, 2007 WL 578987, at *7 (N.D. Cal. Feb. 21, 2007) (“[I]ntervention is

20    also improper because alternative forums exist for Asociacion to vindicate its

21    asserted interests.”); California v. Health & Hum. Servs., 330 F.R.D. 248, 254

22    (N.D. Cal. 2019) (“[T]his action will not impede or impair [Oregon’s] ability to

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1     protect [its] interests, because Oregon could adequately protect those interests by

2     filing a separate suit . . . .”). Indeed, a separate lawsuit addressing the in-person

3     dispensing requirement’s legality is being actively litigated in Texas. Compl., All.

4     for Hippocratic Med. v. FDA, No. 2:22-cv-00223-Z (N.D. Tex.), ECF No. 1 ¶

5     394. For this reason, the Proposed Intervenors’ reliance on California ex rel.

6     Lockyer v. United States, 450 F.3d 436, 443 (9th Cir. 2006), is misplaced because

7     there, the court determined the proposed intervenors would have been barred

8     from bringing “a separate suit where they could argue” their position. By contrast,

9     because the Proposed Intervenors have other ways to pursue their legal interests

10    (including seeking intervention in the Texas litigation), they cannot show that

11    this case will impair any significant protectable interest.2

12          3.      If the Proposed Intervenors have a protectable interest in this
                    suit, FDA can adequately represent it
13
            The Proposed Intervenors have failed to demonstrate that FDA does not
14
      adequately represent their interests as they pertain to this lawsuit. As made clear
15
      by the proposed complaint (ECF No. 76-1), their claims solely concern FDA’s
16
      elimination of the in-person dispensing requirement, not the restrictions
17
      challenged by the Plaintiff States. Of course, any nonparty can assert that existing
18
      parties will not raise and prosecute new claims on its behalf—but that is not the
19

20          2
                Proposed Intervenors have asserted no protectable interest that could be
21    impaired by this Court’s preliminary injunction, which in any event is limited by
22    its terms to the Plaintiff States and does not apply to Proposed Intervenors.

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1     purpose of Rule 24. See Piedmont Paper Prods., Inc. v. Am. Fin. Corp., 89 F.R.D.

2     41, 43–44 (S.D. Ohio 1980) (denying intervention because, although no

3     “defendants have any interest in asserting the counterclaims advanced by the

4     applicant . . . [w]ith regard to defense of this action, the applicant seeks relief

5     identical to that requested by the current defendants”) (emphasis added).

6           Moreover, even if the Proposed Intervenors asserted an interest that could

7     be impaired by the current litigation, FDA adequately represents it. FDA has

8     every incentive and ability to defend its own decision on the REMS requirements

9     challenged here, and indeed is vigorously doing so. See ECF No. 51 (FDA Opp’n

10    to Mot. for Prelim. Injun.); see, e.g., Cedars-Sinai Med. Ctr. v. Shalala, 125 F.3d

11    765, 768 (9th Cir. 1997); Am. Fed’n of State, Cty. & Mun. Emps. Council 79 v.

12    Scott, 278 F.R.D. 664, 670 (S.D. Fla. 2011) (“The [proposed intervenor’s]

13    interests . . . are impaired only if the [Executive Order] is ruled unconstitutional.

14    However, the [defendant] Governor . . . has every reason to defend this policy.”).

15    For this reason too, mandatory intervention is inappropriate.

16          4.     The Motion to Intervene is untimely

17          Finally, the Proposed Intervenors’ motion is untimely under the

18    circumstances. See Alisal Water Corp., 370 F.3d at 921 (“Timeliness is a flexible

19    concept; its determination is left to the district court’s discretion.”); League of

20    United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1303 (9th Cir. 1997) (“[T]he

21    timeliness inquiry demands a more nuanced, pragmatic approach.”). In particular,

22    they seek expedited consideration based on the deadline for appealing this

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1     Court’s preliminary injunction—an injunction that does not affect any legitimate

2     interest of the Proposed Intervenors, as it is expressly limited to the eighteen

3     Plaintiff States. ECF No. 90 at 2; Beneski Decl. Ex. A (confirming that Proposed

4     Intervenors seek to be “included with respect to any appeal rights that may run

5     from the court’s grant of preliminary relief”). And yet, they did not move to

6     intervene until after the preliminary injunction was fully briefed and argued.

7     B.    Permissive Intervention Should Be Denied

8           Permissive intervention is “not intended to allow the creation of whole new

9     lawsuits by the intervenors.” S. Cal. Edison Co. v. Lynch, 307 F.3d 794, 804 (9th

10    Cir. 2002), modified, 307 F.3d 943 (9th Cir. 2002) (cleaned up). Because

11    intervention will vastly complicate this case without any benefit, this Court

12    should reject the Proposed Intervenors’ bid for permissive intervention as well.

13          First, there is no “common question of law or fact” between the existing

14    lawsuit and the elimination of the in-person dispensing requirement such that

15    intervention under Rule 24(b)(1)(B) is warranted. Although the Proposed

16    Intervenors assert their claims are “grounded in the same facts and the same laws”

17    as the Plaintiff States’, ECF No. 76 at 7, permissive intervention is not an

18    appropriate vehicle to bring tangentially related claims that would “unnecessarily

19    expand[] the lawsuit” beyond its original scope. Van Hoomissen v. Xerox Corp.,

20    497 F.2d 180, 182 (9th Cir. 1974) (denying EEOC intervention to bring claims

21    alleging discriminatory hiring practices in a retaliation lawsuit); see also Cooper,

22    13 F.4th at 868 (denying intervention by district attorneys seeking to enforce

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1     execution protocol where they did not draft the protocol and were not authorized

2     to defend its constitutionality, the issue in the “main action”).

3           Permitting the Proposed Intervenors to inject tangential claims will also

4     unduly delay and increase the complexity of this litigation. Fed. R. Civ. P.

5     24(b)(3); Perry, 587 F.3d at 955–56. As the ACOG court recognized, “permissive

6     intervention is [] not advisable because it would result in the injection of issues

7     relating to numerous different state laws into a case that . . . focuses squarely on

8     federal regulations.” 467 F. Supp. at 292 (“intervention would require the Court

9     to grapple with issues of the laws of ten different states”); see Dkt. 76-1 ¶¶ 55,

10    71, 80, 85, 90, 100 (alleging FDA’s elimination of the in-person dispensing

11    requirement upset reliance interests baked into their state laws). In short, this

12    Court should deny the Proposed Intervenors’ request that the Court manage two,

13    unrelated cases under one, unwieldy docket number. See Stringfellow v.

14    Concerned Neighbors in Action, 480 U.S. 370, 380, (1987) (“[A] . . . judge’s

15    decision on how best to balance the rights of the parties against the need to keep

16    the litigation from becoming unmanageable is entitled to great deference.”);

17    Montgomery v. Rumsfeld, 572 F.2d 250, 255 (9th Cir. 1978) (affirming denial of

18    permissive intervention that would “unnecessarily delay and complicate the

19    case”). Accordingly, permissive intervention should be denied.

20                                  III.   CONCLUSION

21          For the foregoing reasons, the Plaintiff States respectfully request that the

22    Court deny Proposed Intervenors’ Motion to Intervene.

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      NO. 1:23-CV-03026-TOR                                             (206) 464-7744
 Case 1:23-cv-03026-TOR   ECF No. 93   filed 04/13/23   PageID.2281 Page 15 of 19




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1                              CERTIFICATE OF SERVICE

2           I hereby certify that on April 13, 2023, I electronically filed the foregoing

3     with the Clerk of the Court using the CM/ECF System, which in turn

4     automatically generated a Notice of Electronic Filing (NEF) to all parties in the

5     case who are registered users of the CM/ECF system. The NEF for the foregoing

6     specifically identifies recipients of electronic notice.

7           DATED this 13th day of April, 2023, at Seattle, Washington.

8                                              /s/ Kristin Beneski
                                               KRISTIN BENESKI, WSBA #45478
9                                              First Assistant Attorney General
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